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                       1   Susan E. Coleman (SBN 171832)
                           E-mail: scoleman@bwslaw.com
                       2   Kristina Doan Strottman (SBN 268188)
                           E-mail: kstrottman@bwslaw.com
                       3   BURKE, WILLIAMS & SORENSEN, LLP
                           444 South Flower Street, Suite 2400
                       4   Los Angeles, CA 90071-2953
                           Tel: 213.236.0600      Fax: 213.236.2700
                       5
                           Attorneys for Defendants
                       6   THE GEO GROUP, INC., DURAN, and CITY OF
                           ADELANTO
                       7
                       8                                 UNITED STATES DISTRICT COURT
                       9                                CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11   OMAR ARNOLDO RIVERA                         Case No. 5:18-cv-01125-R-GJS
                           MARTINEZ; ISAAC ANTONIO
                      12   LOPEZ CASTILLO; JOSUE                       DEFENDANTS THE GEO GROUP,
                           VLADIMIR CORTEZ DIAZ; JOSUE                 INC., DURAN, AND CITY OF
                      13   MATEO LEMUS CAMPOS;                         ADLEANTO’S ANSWER TO FIRST
                           MARVIN JOSUE GRANDE                         AMENDED COMPLAINT; AND
                      14   RODRIGUEZ; ALEXANDER                        DEMAND FOR JURY TRIAL
                           ANTONIO BURGOS MEJIA; LUIS
                      15   PEÑA GARCIA; JULIO CESAR
                           BARAHONA CORNEJO, as
                      16   individuals,                                Judge:   Honorable Manuel L. Real
                      17                           Plaintiffs,
                      18   v.
                      19   THE GEO GROUP, Inc., a Florida
                           corporation; the CITY OF
                      20   ADELANTO, a municipal entity; GEO
                           LIEUTENANT DURAN, sued in her
                      21   individual capacity; GEO
                           LIEUTENANT DIAZ, sued in her
                      22   individual capacity; GEO
                           SERGEANT CAMPOS, sued in his
                      23   individual capacity; SARAH JONES,
                           sued in her individual capacity; THE
                      24   UNITED STATES OF AMERICA;
                           and DOES 1-10, individuals,
                      25
                                                   Defendants.
                      26
                      27            Defendants THE GEO GROUP, INC., R. DURAN (an employee of the GEO
                      28   GROUP), and CITY OF ADELANTO answer Plaintiffs’ First Amended Complaint
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                                                         5:18-CV-01125-R-GJS
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  ATTO RNEY S AT LAW                                                                           DEFTS’ ANSWER
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                       1   (FAC) (Doc. #32), filed on October 11, 2018, as follows:
                       2                                 JURISDICTION AND VENUE
                       3            1.       In response to paragraph 1 of plaintiffs’ FAC, defendants admit that
                       4   this court has jurisdiction over this case under its federal question jurisdiction,
                       5   pursuant to 28 U.S.C. § 1331. Defendants deny any remaining allegations for lack
                       6   of information and belief.
                       7            2.       In response to paragraph 2 of plaintiffs’ FAC, defendants admit that
                       8   the incidents complained of in this action occurred in the City of Adelanto, San
                       9   Bernardino County, State of California. Defendants deny any remaining allegations
                      10   for lack of information and belief.
                      11                                PRELIMINARY STATEMENT
                      12            3.       In response to paragraphs 3 and 4 of plaintiffs’ FAC, defendants lack
                      13   sufficient information to admit or deny the allegations regarding plaintiffs’ journey
                      14   to the United States or reasons for their attempted immigration, and on that basis,
                      15   deny the allegations. Defendants deny any remaining allegations for lack of
                      16   information and belief.
                      17            4.       In response to paragraph 5 of plaintiffs’ FAC, defendants admit
                      18   plaintiffs were taken into custody and transported to the Adelanto Detention Center.
                      19   Defendants deny any remaining allegations for lack of information and belief.
                      20            5.       In response to paragraph 6 of plaintiffs’ Complaint, defendants deny
                      21   that the conditions of Adelanto are deplorable. Defendants specifically deny the
                      22   claimed number of suicides. Defendants deny any remaining allegations for lack of
                      23   information and belief.
                      24            6.       In response to paragraph 7 of plaintiffs’ FAC, defendants deny that
                      25   plaintiffs had inhumane conditions, dirty clothes, inedible meals, lack of access to
                      26   drinking water, or any other poor living conditions. Defendants have no input on
                      27   the amount of bond set for plaintiffs. Defendants deny any remaining allegations
                      28   for lack of information and belief.
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                       1             7.      In response to paragraph 8 of plaintiffs’ FAC, defendants deny the
                       2   conditions at Adelanto were inhumane or unlawful. Defendants deny any
                       3   remaining allegations for lack of information and belief.
                       4             8.      In response to paragraph 9 of plaintiffs’ FAC, defendants deny that
                       5   they or any GEO employees attacked or beat plaintiffs. Defendants deny any
                       6   remaining allegations for lack of information and belief.
                       7             9.      In response to paragraph 10 of plaintiffs’ FAC, defendants deny that
                       8   they committed any misconduct and deny that the conditions at Adelanto are
                       9   “depraved.” Defendants deny any remaining allegations for lack of information
                      10   and belief.
                      11                                            PARTIES
                      12             10.     In response to paragraphs 11-13 of plaintiffs’ FAC, defendants admit
                      13   that plaintiff Omar Rivera Martinez was detained at Adelanto. Defendants deny
                      14   that Martinez was attacked and deny that his rights were violated. Defendants deny
                      15   that Martinez’s nose was fractured as a result of this incident. Defendants deny any
                      16   remaining allegations for lack of information and belief.
                      17             11.     In response to paragraphs 14-15 of plaintiffs’ FAC, defendants admit
                      18   that plaintiff Castillo was detained at Adelanto. Defendants deny Castillo was
                      19   brutally attacked and deny that his rights were violated. Defendants deny that
                      20   Castillo had pepper spray burns, bleeding, or bruising as a result of this incident.
                      21   Defendants deny any remaining allegations for lack of information and belief.
                      22             12.     In response to paragraphs 18-19 of plaintiffs’ FAC, defendants admit
                      23   that plaintiff Campos was detained at Adelanto. Defendants deny Campos was
                      24   brutally attacked and deny that his rights were violated. Defendants deny that
                      25   Campos suffered pepper spray burns, bruising, or shoulder pain as a result of this
                      26   incident. Defendants deny any remaining allegations for lack of information and
                      27   belief.
                      28   ///
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                       1             13.     In response to paragraphs 20-21 of plaintiffs’ FAC, defendants admit
                       2   that plaintiff Rodriguez was detained at Adelanto. Defendants deny Rodriguez was
                       3   brutally attacked and deny that his rights were violated. Defendants deny that
                       4   Rodriguez had pepper spray burns, bruising, or a head injury as a result of this
                       5   incident. Defendants deny any remaining allegations for lack of information and
                       6   belief.
                       7             14.     In response to paragraphs 22-23 of plaintiffs’ FAC, defendants admit
                       8   that plaintiff Burgos Mejia was detained at Adelanto. Defendants deny Burgos
                       9   Mejia was brutally attacked and deny that his rights were violated. Defendants
                      10   deny that Burgos Mejia had pepper spray burns, bruising, or a head injury as a
                      11   result of this incident. Defendants deny any remaining allegations for lack of
                      12   information and belief.
                      13             15.     In response to paragraphs 24-25 of plaintiffs’ FAC, defendants admit
                      14   that plaintiff Garcia was detained at Adelanto. Defendants deny Garcia was
                      15   brutally attacked and deny that his rights were violated. Defendants deny that
                      16   Garcia had pepper spray burns, bruising, or a head injury as a result of this incident.
                      17   Defendants deny any remaining allegations for lack of information and belief.
                      18             16.     In response to paragraphs 26-27 of plaintiffs’ FAC, defendants admit
                      19   that plaintiff Cornejo was detained at Adelanto. Defendants deny Cornejo was
                      20   brutally attacked and deny that his rights were violated. Defendants deny that
                      21   Cornejo had pepper spray burns, bruising, or injuries to his abdomen and knee as a
                      22   result of this incident. Defendants deny any remaining allegations for lack of
                      23   information and belief.
                      24             17.     In response to paragraph 28 of plaintiffs’ FAC, defendants admit The
                      25   GEO Group, Inc. is a private corporation headquartered in Boca Raton, Florida.
                      26   Defendants deny any remaining allegations for lack of information and belief.
                      27             18.     In response to paragraph 29 of plaintiffs’ FAC, these allegations do not
                      28   concern the responding GEO defendants, and therefore are not answered herein.
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   S ORENS EN , LLP                                                                                 5:18-CV-01125-R-GJS
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                       1            19.      In response to paragraph 30 of plaintiffs’ FAC, defendants admit that
                       2   ICE detainees were housed at the Adelanto detention center. Defendants deny any
                       3   remaining allegations for lack of information and belief.
                       4            20.      In response to paragraphs 31-34, Defendants admit that R. Duran,
                       5   Lieutenant Diaz, and Sergeant Campos were employees of GEO during all relevant
                       6   time periods. Defendants deny that Licensed Vocational Nurse Jones was an
                       7   employee of GEO. Defendants deny any remaining allegations for lack of
                       8   information and belief.
                       9            21.      In response to paragraphs 35-36 of plaintiffs’ FAC, the allegations
                      10   concerning the United States of America do not concern the responding defendants,
                      11   and therefore are not answered herein.
                      12            22.      In response to paragraph 37 of plaintiffs’ FAC, the allegations
                      13   concerning DOE defendants do not concern the responding defendants, and
                      14   therefore are not answered herein.
                      15                                  FACTUAL ALLEGATIONS
                      16            23.      In response to paragraphs 39-45 of plaintiffs’ FAC, defendants admit
                      17   that GEO staff ordered plaintiffs to leave the day room and return to their assigned
                      18   bunks after breakfast on the morning of June 12, 2017. Defendants admit that
                      19   backup was requested after plaintiffs refused to leave the area. Defendants deny
                      20   any remaining allegations for lack of information and belief.
                      21            24.      In response to paragraphs 46-47 of plaintiffs’ FAC, defendants admit
                      22   that a supervisor arrived and displayed a can of pepper spray. Defendants admit
                      23   that short bursts of pepper spray were used to gain compliance with lawful orders.
                      24   Defendants deny that any detainees were pepper sprayed at close range. Defendants
                      25   deny any remaining allegations for lack of information and belief.
                      26            25.      In response to paragraph 48 of plaintiffs’ FAC, defendants admit that
                      27   plaintiffs were physically separated and restrained. Defendants deny that any
                      28   detainees were assaulted or slammed onto the floor and walls. Defendants deny
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                       1   any remaining allegations for lack of information.
                       2             26.     In response to paragraphs 49-50 of plaintiffs’ FAC, defendants deny
                       3   that Defendant Campos sprayed plaintiffs at close range. Defendants deny any
                       4   remaining allegations for lack of information.
                       5             27.     In response to paragraphs 51-55 of plaintiffs’ FAC, defendants admit
                       6   that plaintiffs were physically separated and restrained. Defendants deny that any
                       7   detainees were assaulted or slammed onto the floor and walls. Defendants deny
                       8   any remaining allegations for lack of information. Defendants deny that plaintiffs
                       9   were taken to a small area where they were suffocated with pepper spray fumes.
                      10   Defendants deny that medical staff ignored pleas for medical treatment and
                      11   attention. Defendants deny any remaining allegations for lack of information.
                      12             28.     In response to paragraph 56 of plaintiffs’ FAC, defendants deny that
                      13   they improperly restrained plaintiffs or caused injury to plaintiffs’ wrists.
                      14   Defendants deny any remaining allegations for lack of information.
                      15             29.     In response to paragraphs 57-58 of plaintiffs’ FAC, defendants deny
                      16   that plaintiffs were forced to shower in hot water. Defendants deny that plaintiffs
                      17   were denied medical attention. Defendants deny any remaining allegations for lack
                      18   of information and belief.
                      19             30.     In response to paragraphs 59-61 of plaintiffs’ FAC, defendants admit
                      20   that plaintiffs were taken to a restricted housing unit pending potential disciplinary
                      21   action. Defendants deny any remaining allegations for lack of information and
                      22   belief.
                      23             31.     In response to paragraph 62 of plaintiffs’ FAC, defendants deny that
                      24   plaintiffs were denied medical attention. Defendants deny any remaining
                      25   allegations for lack of information and belief.
                      26             32.     In response to paragraphs 63-68 of plaintiffs’ FAC, defendants admit
                      27   that plaintiffs began a hunger strike. Defendants deny that they retaliated against
                      28   plaintiffs. Defendants lack sufficient information to admit or deny what ICE agents
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                       1   said to plaintiff, if anything, regarding the hunger strike. Defendants deny any
                       2   remaining allegations for lack of information and belief.
                       3         ADMINITRATIVE CLAIM UNDER FEDERAL TORT CLAIM ACT
                       4            33.      In response to paragraph 69 of plaintiffs’ FAC, the allegations
                       5   concerning the United States of America do not concern the responding defendants,
                       6   and therefore are not answered herein.
                       7                      EXHAUSTION OF ADMINISTRATIVE REMEDIES
                       8            34.      In response to paragraph 70 of plaintiffs’ FAC, defendants deny that
                       9   plaintiffs filed a timely state tort claim. Defendants deny any remaining allegations
                      10   for lack of information and belief.
                      11                                   MONELL ALLEGATIONS
                      12            35.      In response to paragraphs 71 to 74 of plaintiffs’ Complaint, Defendant
                      13   City of Adelanto denies that it had policies, practices, and/or customs that were the
                      14   cause of plaintiffs’ alleged injuries. Defendant denies that it failed to provide
                      15   adequate training or supervisions, failed to adequately discipline or retrain officer,
                      16   that it selected, retained, and assigned officers with demonstrable propensities for
                      17   excessive force, violence, dishonesty, or other misconduct, or that it condoned or
                      18   encouraged officers in the belief that they could violate rights. Defendant denies
                      19   any remaining allegations for lack of information and belief.
                      20                           FIRST CAUSE OF ACTION: BATTERY
                      21            36.      In response to paragraphs 75 to 80 of plaintiffs’ FAC, defendants deny
                      22   that they assaulted or battered plaintiffs and deny they acted with the intent to harm
                      23   plaintiffs. Defendants deny that plaintiffs were injured as a result of their conduct.
                      24   Defendants deny they acted with malice, oppression, or conscious disregard of
                      25   rights, and deny that they are liable for punitive damages. Defendant City of
                      26   Adelanto denies that it is vicariously liable for any alleged acts by Defendant GEO
                      27   or GEO employees. Defendants deny any remaining allegations for lack of
                      28   information and belief.
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                       1                           SECOND CAUSE OF ACTION: ASSAULT
                       2            37.      In response to paragraphs 81 to 86 of plaintiffs’ FAC, defendants deny
                       3   that they assaulted plaintiffs. Defendants deny that plaintiffs were injured as a
                       4   result of their conduct. Defendants deny they acted with malice, oppression, or
                       5   conscious disregard of rights, and deny that they are liable for punitive damages.
                       6   Defendant City of Adelanto denies that it is vicariously liable for any alleged acts
                       7   by Defendant GEO or GEO employees. Defendants deny any remaining
                       8   allegations for lack of information and belief.
                       9                                 THIRD CAUSE OF ACTION:
                      10                  NEGLIGENT HIRING, TRAINING, AND SUPERVISION
                      11            38.      In response to paragraphs 87 to 91 of plaintiffs’ FAC, defendants deny
                      12   that they negligently hired, retained, or supervised its employees at Adelanto.
                      13   Defendants deny that they intended to cause plaintiffs to suffer injury and deny that
                      14   plaintiffs were injured physically or emotionally as a result of their conduct.
                      15   Defendants deny any remaining allegations for lack of information and belief.
                      16            39.      In response to paragraph 92 of plaintiffs’ FAC, the allegations
                      17   concerning the United States of America do not concern the responding defendants,
                      18   and therefore are not answered herein.
                      19            40.      In response to paragraph 93 of plaintiffs’ FAC, Defendant City of
                      20   Adelanto denies that it is vicariously liable for any alleged acts by Defendant GEO
                      21   or GEO employees. Defendants deny any remaining allegations for lack of
                      22   information and belief.
                      23            41.      In response to paragraph 94 of plaintiffs’ FAC, Defendants deny they
                      24   acted with malice, oppression, or conscious disregard of rights, and deny that they
                      25   are liable for punitive damages. Defendants deny any remaining allegations for
                      26   lack of information and belief.
                      27   ///
                      28   ///
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                       1                             FOURTH CAUSE OF ACTION: IIED
                       2            42.      In response to paragraphs 95-99 of plaintiffs’ FAC, defendants deny
                       3   that they engaged in extreme or outrageous conduct. Defendants deny that they
                       4   intended to cause plaintiffs to suffer injury and deny that plaintiffs were injured
                       5   physically or emotionally as a result of their conduct. Defendants deny they acted
                       6   with malice, oppression, or conscious disregard of rights, and deny that they are
                       7   liable for punitive damages. Defendants deny any remaining allegations for lack of
                       8   information and belief.
                       9            43.      In response to paragraphs 100-101 of plaintiffs’ FAC, the allegations
                      10   concerning the United States of America do not concern the responding defendants,
                      11   and therefore are not answered herein.
                      12            44.      In response to paragraph 102 of plaintiffs’ FAC, Defendant City of
                      13   Adelanto denies that it is vicariously liable for any alleged acts by Defendant GEO
                      14   or GEO employees. Defendants deny any remaining allegations for lack of
                      15   information and belief.
                      16            45.      In response to paragraph 103 of plaintiffs’ FAC, Defendants deny they
                      17   acted with malice, oppression, or conscious disregard of rights, and deny that they
                      18   are liable for punitive damages. Defendants deny any remaining allegations for
                      19   lack of information and belief.
                      20        FIFTH CAUSE OF ACTION: FIRST AMENDMENT RETALIATION
                      21            46.      In response to paragraphs 104-109 of plaintiffs’ FAC, defendants deny
                      22   that they violated plaintiffs’ rights. Defendants deny that they retaliated against
                      23   plaintiffs. Defendants deny that plaintiffs were injured emotionally as a result of
                      24   their conduct. Defendant GEO denies it failed to discipline or retrain officers.
                      25   Defendants deny any remaining allegations for lack of information and belief.
                      26            47.      In response to paragraph 110 of plaintiffs’ FAC, the allegations
                      27   concerning the United States of America do not concern the responding defendants,
                      28   and therefore are not answered herein.
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                       1            48.      In response to paragraph 111 of plaintiffs’ FAC, Defendants deny that
                       2   they retaliated against Plaintiffs or violated clearly established law. Defendants
                       3   deny any remaining allegations for lack of information and belief.
                       4            49.      In response to paragraph 112 of plaintiffs’ FAC, Defendants deny they
                       5   acted with malice, oppression, or conscious disregard of rights, and deny that they
                       6   are liable for punitive damages. Defendants deny any remaining allegations for
                       7   lack of information and belief.
                       8              SIXTH CAUSE OF ACTION: FOURTH AND FOURTEENTH
                       9                             AMENDMENT EXCESSIVE FORCE
                      10            50.      In response to paragraphs 113-117 of plaintiffs’ FAC, defendants deny
                      11   that they used excessive force against plaintiffs. Defendants deny that they intended
                      12   to cause plaintiffs to suffer injury and deny that plaintiffs were injured physically or
                      13   emotionally as a result of their conduct. Defendant GEO denies it failed to
                      14   discipline or retrain officers. Defendants deny any remaining allegations for lack of
                      15   information and belief.
                      16            51.      In response to paragraph 118 of plaintiffs’ FAC, the allegations
                      17   concerning the United States of America do not concern the responding defendants,
                      18   and therefore are not answered herein.
                      19            52.      In response to paragraphs 119 of plaintiffs’ FAC, Defendants deny that
                      20   they used excessive force against Plaintiffs or violated clearly established law.
                      21   Defendants deny any remaining allegations for lack of information and belief.
                      22            53.      In response to paragraphs 120 of plaintiffs’ FAC, Defendants deny
                      23   they acted with malice, oppression, or conscious disregard of rights, and deny that
                      24   they are liable for punitive damages. Defendants deny any remaining allegations
                      25   for lack of information and belief.
                      26   ///
                      27   ///
                      28   ///
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   S ORENS EN , LLP                                                                                 5:18-CV-01125-R-GJS
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                       1              SEVENTH CAUSE OF ACTION: FIFTH AND FOURTEENTH
                       2                    AMENDMENTS RIGHT TO DUE PROCESS OF LAW
                       3            54.      In response to paragraphs 121 to 125 of plaintiffs’ FAC, defendants
                       4   deny that they deprived plaintiffs of liberty without due process of law. Defendants
                       5   deny that they assaulted plaintiffs or retaliated against them. Defendants deny that
                       6   plaintiffs were injured physically or emotionally as a result of their conduct.
                       7   Defendant GEO denies it failed to discipline or retrain officers. Defendants deny
                       8   any remaining allegations for lack of information and belief.
                       9            55.      In response to paragraph 126 of plaintiffs’ FAC, the allegations
                      10   concerning the United States of America do not concern the responding defendants,
                      11   and therefore are not answered herein.
                      12            56.      In response to paragraphs 127 of plaintiffs’ FAC, Defendants deny that
                      13   they used excessive force or retaliated against Plaintiffs or violated clearly
                      14   established law. Defendants deny any remaining allegations for lack of information
                      15   and belief.
                      16            57.      In response to paragraphs 128 of plaintiffs’ FAC, Defendants deny
                      17   they acted with malice, oppression, or conscious disregard of rights, and deny that
                      18   they are liable for punitive damages. Defendants deny any remaining allegations
                      19   for lack of information and belief.
                      20                           EIGHTH CAUSE OF ACTION: BANE ACT
                      21            58.      In response to paragraphs 129-132 of plaintiffs’ FAC, defendants deny
                      22   that they used threats, intimidation or coercion to interfere with plaintiffs’ exercise
                      23   of their constitutional rights. Defendants deny they acted with malice, oppression,
                      24   or conscious disregard of rights, and deny that they are liable for punitive damages.
                      25   Defendants deny any remaining allegations for lack of information and belief.
                      26            59.      In response to paragraph 133 of plaintiffs’ FAC, the allegations
                      27   concerning the United States of America do not concern the responding defendants,
                      28   and therefore are not answered herein.
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                                                                 5:18-CV-01125-R-GJS
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                       1            60.      In response to paragraph 134 of plaintiffs’ FAC, Defendants deny that
                       2   they caused Plaintiffs severe physical injury or emotional distress. Defendants deny
                       3   any remaining allegations for lack of information and belief.
                       4            61.      In response to paragraph 135 of plaintiffs’ FAC, Defendants deny they
                       5   acted with malice, oppression, or conscious disregard of rights, and deny that they
                       6   are liable for punitive damages. Defendants deny any remaining allegations for
                       7   lack of information and belief.
                       8                           NINTH CAUSE OF ACTION: CONSPIRACY
                       9                            TO INTERFERE WITH CIVIL RIGHTS
                      10            62.      In response to paragraphs 136 to 140 of plaintiffs’ FAC, defendants
                      11   deny that they conspired to deprive plaintiffs of equal protection. Defendants deny
                      12   that plaintiffs were injured physically or emotionally as a result of their conduct.
                      13   Defendants deny they acted with malice, oppression, or conscious disregard of
                      14   rights, and deny that they are liable for punitive damages. Defendant City of
                      15   Adelanto denies that it is vicariously liable for any alleged acts by Defendant GEO
                      16   or GEO employees. Defendants deny any remaining allegations for lack of
                      17   information and belief.
                      18           TENTH CAUSE OF ACTION: NEGLIGENCE AND FAILURE TO
                      19                                  PROVIDE MEDICAL CARE
                      20            63.      In response to paragraphs 141-142 of plaintiffs’ FAC, defendants deny
                      21   that plaintiffs were denied medical care. Defendants deny that they failed to
                      22   properly assess the need of use of force against plaintiff or failure to provide timely
                      23   medical assistance to plaintiffs. Defendants deny that plaintiffs were injured
                      24   physically or emotionally as a result of their actions or inactions. Defendants deny
                      25   any remaining allegations for lack of information and belief.
                      26            64.      In response to paragraph 143 of plaintiffs’ FAC, the allegations
                      27   concerning the United States of America do not concern the responding defendants,
                      28   and therefore are not answered herein.
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                                                                 5:18-CV-01125-R-GJS
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  ATTO RNEY S AT LAW                                                                                   DEFTS’ ANSWER
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                       1            65.      In response to paragraph 135 of plaintiffs’ FAC, Defendants deny they
                       2   acted with malice, oppression, or conscious disregard of rights, and deny that they
                       3   are liable for punitive damages. Defendants deny any remaining allegations for
                       4   lack of information and belief.
                       5                                     PRAYER FOR RELIEF
                       6            66.      In response to plaintiffs’ prayer for relief, defendants deny that
                       7   plaintiff is entitled to declaratory judgment or monetary damages, or any other
                       8   relief. Defendants assert that plaintiff is not entitled to punitive damages.
                       9                                   AFFIRMATIVE DEFENSES
                      10            As separate and affirmative defenses, defendants allege as follows:
                      11                               FIRST AFFIRMATIVE DEFENSE
                      12            67.      Plaintiffs’ FAC fails to state a claim upon which relief can be granted.
                      13   Plaintiffs’ FAC also fails to state a claim against defendants.
                      14                              SECOND AFFIRMATIVE DEFENSE
                      15            68.      Defendants deny that plaintiffs have been deprived of any rights,
                      16   privileges, or immunities guaranteed by the laws of the United States or by the laws
                      17   of the State of California.
                      18                               THIRD AFFIRMATIVE DEFENSE
                      19            69.      At all relevant times, Defendants acted within the scope of discretion,
                      20   with due care, and good faith fulfillment of responsibilities pursuant to applicable
                      21   statutes, rules and regulation, within the bounds of reason under all circumstances
                      22   known, and with the good faith belief that its actions comported with federal and
                      23   state laws. Defendants therefore assert their qualified immunity from liability.
                      24                             FOURTH AFFIRMATIVE DEFENSE
                      25            70.      Plaintiffs have suffered no actual injury due to Defendants’ conduct.
                      26                               FIFTH AFFIRMATIVE DEFENSE
                      27            71.      Defendants assert that this action may be subject to the doctrine of
                      28   collateral estoppel or res judicata due to the pendency of any related state court
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                       1   proceedings arising from the same incidents and/or due to any duplicated federal
                       2   claims.
                       3                               SIXTH AFFIRMATIVE DEFENSE
                       4            72.      Plaintiffs’ claims are barred by all applicable statutes of limitations.
                       5                             SEVENTH AFFIRMATIVE DEFENSE
                       6            73.      Any and all happenings, events, damages and injuries, if any, referred
                       7   to in the FAC were proximately caused and contributed by plaintiffs’ own conduct
                       8   in that they failed to comply with orders at the alleged times and places.
                       9                              EIGHTH AFFIRMATIVE DEFENSE
                      10            74.      Plaintiffs’ own conduct estops them from claiming the damages in the
                      11   FAC.
                      12                               NINTH AFFIRMATIVE DEFENSE
                      13            75.      Plaintiffs are not entitled to punitive damages because defendants did
                      14   not act with malicious intent to deprive them of any constitutional right or to cause
                      15   any injury. Punitive damages are not recoverable for the claims set forth.
                      16                               TENTH AFFIRMATIVE DEFENSE
                      17            76.       Defendants are not vicariously liable for acts of subordinates or
                      18   subject to liability under the doctrine of respondeatsuperior.
                      19                            ELEVENTH AFFIRMATIVE DEFENSE
                      20            77.      Plaintiffs failed to mitigate their own damages, if any exist.
                      21                             TWELFTH AFFIRMATIVE DEFENSE
                      22            78.      Should plaintiffs recover damages against defendants, defendants are
                      23   entitled to have the amount abated, apportioned or reduced to the extent that any
                      24   other party’s negligence caused or contributed to damages, if any there were.
                      25                           THIRTEENTH AFFIRMATIVE DEFENSE
                      26            79.       Answering defendants allege by way of a plea of comparative
                      27   negligence that plaintiffs and other parties were negligent in and about the matters
                      28   and activities alleged in the FAC, that said negligence contributed to and was a
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                       1   proximate cause of the alleged injuries and damages, if any, and that if plaintiffs
                       2   and/or other parties are found to have been negligent, and if the plaintiffs are
                       3   entitled to recover damages against the answering defendants by virtue of the FAC,
                       4   these defendants pray that said recovery be diminished by reason of the negligence
                       5   of the plaintiffs in proportion to the degree of fault attributable to the plaintiffs.
                       6   ///
                       7                           FOURTEENTH AFFIRMATIVE DEFENSE
                       8            80.      Defendants allege that Plaintiffs’ claims are barred by the equitable
                       9   doctrines of estoppel, laches and unclean hands.
                      10                            FIFTEENTH AFFIRMATIVE DEFENSE
                      11            81.      Defendants allege that at no time did Defendants breach any
                      12   mandatory legal duty owed to Plaintiffs the proximate cause of which was
                      13   Plaintiffs’ alleged injury and/or damages.
                      14                            SIXTEENTH AFFIRMATIVE DEFENSE
                      15            82.      Defendants allege that none of their agents and/or employees engaged
                      16   in any interference, or attempts to interfere, by threats, intimidation, violence or
                      17   coercion with Plaintiffs’ exercise or enjoyment of their constitutional rights.
                      18                           SEVENTEENTH AFFIRMATIVE DEFENSE
                      19            83.      Defendant City of Adelanto is not liable because it did not operate the
                      20   detention center where plaintiffs were held.
                      21                           EIGHTEENTH AFFIRMATIVE DEFENSE
                      22            84.      Plaintiffs’ state law claims are barred by his failure to comply with the
                      23   strictures of the Government Tort Claims Act.
                      24                           NINETHEENTH AFFIRMATIVE DEFENSE
                      25            85.      Defendant City of Adelanto is immune from liability for their actions
                      26   by the application of one or more of the immunities set forth in the California
                      27   GovernmentCode,including the immunities set forth in §§ 820, 820.2, 820.4,
                      28   820.6, 820.8.
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                       1                             TWENTIETH AFFIRMATIVE DEFENSE
                       2            86.      There is no liability for any injury or damages, if any there were,
                       3   caused by the failure to furnish or obtain medical care for any prisoner. (Cal. Gov.
                       4   Code, § 845.6.)
                       5                            TWENTY-FIRST AFFIRAMTIVE DEFENSE
                       6            87.      There is no liability for any injury or damages, if any there were,
                       7   caused by a prisoner or to a prisoner. (Cal. Gov. Code, § 844.6.)
                       8                           TWENTY-SECOND AFFIRMATIVE DEFENSE
                       9            88.      To the extent that the Complaint attempts to predicate liability upon
                      10   any public entity defendant, or any agent or employee thereof, for purported
                      11   negligence in removal, prescription, disinfection, or assessment, liability is barred
                      12   by Government Code sections 815.2 and 820.2 and Herndonv. Countyof Marin
                      13   (1972) 25 Cal. App. 3d 933, 935, 936, reversed on other grounds by Sullivanv.
                      14   Countyof LosAngeles(1974) 12 Cal.3d 710; by the lack of any duty running to
                      15   Plaintiff; by the fact that any such purported act or omission is governed
                      16   exclusively by statute and is outside the purview of any public employees’
                      17   authority; and by the failure of any such acts or omissions to be the proximate cause
                      18   of any injury alleged in the Complaint.
                      19                           TWENTY-THIRD AFFIRMATIVE DEFENSE
                      20            89.      The Defendant is immune from liability except as provided by statute
                      21   pursuant to California Government Code §§ 815 and 820.
                      22                           TWENTY-FOURTH AFFIRMATIVE DEFENSE
                      23            90.      Plaintiffs’ claim for punitive damages is barred because a public entity
                      24   is not liable for damages awarded under Civil Code section 3294 or other damages
                      25   imposed primarily for the sake of example and by way of punishing defendant(s).
                      26                           TWENTY-FIFTH AFFIRMATIVE DEFENSE
                      27            91.      Because the Complaint is couched in conclusory terms, answering
                      28   defendant cannot fully anticipate all affirmative defenses that may be applicable to
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                       1   this action. Accordingly, the right to assert additional affirmative defenses, if and
                       2   to the extent that such affirmative defenses are applicable, is hereby reserved.
                       3                               DEMAND FOR JURY TRIAL
                       4            Defendants hereby demand a trial before a jury on all issues presented by
                       5   Plaintiffs’ FAC triable to a jury.
                       6            WHEREFORE, Defendants pray that:
                       7            1. Judgment be rendered in favor of Defendants and against Plaintiffs; and
                       8            2. Plaintiffs take nothing by the FAC; and
                       9            3. Defendants be awarded costs of suit incurred herein; and
                      10            4. Defendants be awarded such other and further relief as the Court may
                      11   deem necessary and proper.
                      12   Dated: October 25, 2018                 BURKE, WILLIAMS & SORENSEN, LLP
                      13
                      14                                           By: /s/ Kristina Doan Strottman
                                                                       Susan E. Coleman
                      15                                               Kristina Doan Strottman
                      16                                           Attorneys for Defendants
                                                                   THE GEO GROUP, INC., DURAN, and
                      17                                           CITY OF ADELANTO
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